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                                                                                  January 13, 2022
VIA ELECTRONIC COURT FILING
The Hon. A. David Copperthite
United States District Court for the District of Maryland
101 West Lombard Street, 8B
Baltimore, Maryland 21201

       Re: Alfred Chestnut, et al. v. Donald Kincaid, et al., Civil Action No. LKG-20-2342

Dear Judge Copperthite:

        The depositions of Edward Capers and Ronald Bishop are currently scheduled to take place
on January 18, 2022, and January 24, 2022, respectively. As this Court is aware, Individual
Defendants (and Plaintiffs) have encountered great difficulty “gathering facts and information to
effectively prosecute and defend this litigation based upon events that occurred over 37 years ago.”
Court Order, ECF No. 76; see also Correspondence, ECF No. 72. For this reason, this Court
previously stayed the Capers and Bishop depositions and extended the discovery deadline to
specifically allow Defendants more time to gather records critical to defending the allegations. Id.
Despite Individual Defendants diligent attempts to gather the documents necessary to take
meaningful depositions of these witnesses, several factors have made this impossible. These
factors, as further described below, include (a) the Circuit Court of Baltimore City rescheduling a
hearing due to COVID; (b) the Circuit Court of Baltimore City encountering delays in obtaining
court files from archives; (c) Plaintiffs delaying production of records from the Mid-Atlantic
Innocence Project (“MAIP”) and the University of Baltimore Innocence Project (“UBIP”), both of
whom served as Plaintiffs’ post-conviction counsel; (d) The New Yorker refusing to produce audio
of its interviews with witnesses; (e) The Baltimore City State’s Attorney’s Office delaying
production of communications with witnesses; and (f) Plaintiffs’ private investigator refusing to
produce notes of witness statements at issue in this case. Accordingly, at a minimum, Individual
Defendants seek a protective order to stay the depositions until the Circuit Court for Baltimore
City conducts a hearing to consider Individual Defendants’ request for the grand jury materials.

        Individual Defendants take very seriously this Court’s previous ruling that “[a] court’s
scheduling order ‘is not a frivolous piece of paper, idly entered, which can be cavalierly
disregarded by counsel without peril.’” ECF No. 76 (citing Potomac Elec. Power Co. v. Elec.
Motor Supply, Inc., 190 F.R.D. 372, 375-76 (D. Md. 1999)). For this reason, Individual Defendants
have continued to diligently pursue necessary and relevant records and have worked extensively
with Plaintiffs to schedule all the depositions. Individual Defendants made clear at the outset of
their scheduling call on November 30, 2021, which Plaintiffs’ counsel acknowledged, that the
parties would schedule the depositions guided by this Court’s order, and with the understanding
that the dates were subject to change should the parties encounter unforeseen difficulties in




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obtaining the Baltimore City Circuit Court files and grand jury materials for Plaintiffs’ underlying
convictions.

        Despite their best efforts and repeated contact with the clerk’s office Individual Defendants
were first able to schedule a hearing for the release of the grand jury transcripts on January 6, 2022.
See Dec. 20, 2021, Email from Court, attached as Ex. 1. The court cancelled the hearing due to its
own scheduling difficulties and rescheduled for January 11, 2022. See Jan. 4, 2022, Email from
Court, attached as Ex. 2. On January 11, 2022, the court again notified the parties that it would
have to reschedule the hearing because the Judge contracted COVID. See Jan. 11, 2022, Email
from Court, attached as Ex. 3. Moreover, the severity and reach of the most recent COVID surge
is aptly demonstrated by the local and statewide authorities reinstating a state of emergency and
the Maryland Courts retreating back to Stage 3 protocols. Individual Defendants expect the Court
to release the grand jury transcripts as it already has in another pending high exposure reversed
conviction lawsuit, McPherson, et al. v BPD, et al., Case 1:20-cv-00795-SAG, and given that their
request, which Plaintiffs initially joined, remains unopposed. Given the critical nature of the grand
jury transcripts to this litigation, and specifically with respect to the depositions of witnesses whose
deposition testimony is directly impacted by the grand jury testimony, Individual Defendants
immediately reached out to Plaintiffs to request a continuance of the scheduled depositions, which
is consistent with this Court’s previous ruling. Plaintiffs refused.1

         In addition, many important records have not yet been produced to Individual Defendants,
including some records currently in Plaintiffs’ custody. Plaintiffs’ post-conviction counsel at
MAIP still have not completed their production to a third-party document processor, and Plaintiffs
have not even begun to conduct a privilege review of those records. See Jan. 10, 2022, Email from
Legal Images, attached as Ex. 4. Plaintiffs’ post-conviction counsel at the UBIP have completed
their production to the document processor and conducted their own privilege review. Those
records have also been in Plaintiffs’ possession for some time to conduct a separate privilege
review, but these records have similarly not been produced. Additionally, Individual Defendants
procured a court order from the Baltimore City Circuit Court to review the complete files for
Plaintiffs’ underlying convictions, including sealed records. See Dec. 17, 2021, Baltimore City
Circuit Court Orders, attached as Ex. 5. The parties have inspected one of Plaintiff’s files but two
of the files had to be specially requested from court archives, and they have not yet been made
available by the court. See Dec. 29, 2021, Email from Counsel, attached as Ex. 6. Finally,
Individual Defendants are currently litigating three separate discovery disputes with third-parties
to obtain important records for their defense. See ECF Nos. 87-101.

        Put plainly, despite Individual Defendants’ “diligent efforts,” they still await the production
of many records — most importantly the grand jury transcripts — that are required to properly
depose the witnesses in this case. See Court Order, ECF No. 76. The delays in receiving a hearing
for the grand jury materials cannot be attributed to any carelessness on the part of Individual
Defendants. 2 See id.

1
  Individual Defendants immediately attempted to bring this dispute to the Court’s attention on January 11,
2022, but Plaintiffs objected to filing a joint dispute letter until today.
2
  The Baltimore City Circuit Court judge is not the only one who contracted COVID during the Omicron
surge. Lead counsel for Individual Defendants, Avi Kamionski, has also contracted COVID. Plaintiffs
agreed to postpone Mr. Capers’s deposition by one week until January 18, 2022, to allow time for Mr.


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       In light of the above, at this time, Defendants respectfully ask that the Court grant
Defendants’ request for a protective order to stay the depositions until the Circuit Court for
Baltimore City conducts a hearing to consider Individual Defendants’ request for the grand jury
materials.

                                                   Respectfully,

                                                   /s/ Mayer Engelsberg
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Kamionski to recuperate. But Mr. Kamionski is still experiencing symptoms and he requested that Plaintiffs
postpone the depositions scheduled for the week of January 17, 2022, for this reason as well. See Jan. 12,
2022, Email from A. Kamionski, attached as Ex. 7. In response, Plaintiffs proposed that they move forward
with the deposition of Mr. Capers on January 18, 2022, via remote videoconferencing, and that Individual
Defendants could reopen the deposition at a later date to for their questioning. Plaintiffs also indicated an
openness to “discuss further what compromises” could be reached regarding depositions that Individual
Defendants had noted for January 19, 2022. See Jan. 12, 2022 Proposal from Counsel, attached as Ex. 8.
(At a second meet and confer on January 13, 2022, Plaintiffs agreed to postpone depositions noted by
Individual Defendants.) This proposal is insufficient for two reasons: First, it does not address the issues
related to the many outstanding records, including the grand jury materials. A witness’s ability to review a
prior sworn statement from testimony from many years ago impacts the witness’s ability to testify
accurately. Plaintiffs’ rush to have Mr. Capers (and Mr. Bishop) testify without the benefit of their prior
sworn statements to the grand jury invites an intentionally jumbled record that is inherently unfair to the
witnesses and to the Parties. Second, as a recanting witness 35 years later, Mr. Capers’s deposition is critical
to this case. Individual Defendants should be afforded the right to have their counsel of choice in to defend
Mr. Capers’s deposition. As the senior partner on this case, Mr. Kamionski is uniquely qualified for this
role and is unable to meaningfully participate given his current condition.


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